Case:17-60400-EJC Doc#:1 Filed:09/15/17 Entered:09/15/17 18:52:32 Page:1 of 52

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF GEORGIA

Case number (if known) Chapter you are filing under:
O Chapter 7
O Chapter 11
O Chapter 12

B chapter 13 QO Check if this an
amended filing

 

 

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12115

The bankruptcy forms use you and Debtor ( to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

Be as complete and.accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

Write the name that is on Linda

 

 

 

 

 

 

your government-issued =“ First name First name

picture identification (for

example, your driver's F

licehseiot passport). Middle name Middie name

Bring your picture Hill

identificati

Mentineation to-your Last name and Suffix (Sr., Jr., Il, TI) Last name and Suffix (Sr., Jr., Il, Ill)

meeting with the trustee.

 

2. All other names you have
used in the last 8 years

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal XXX-XX-3872
Individual Taxpayer
Identification number
(ITIN)

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
Debtor 1

 

4. Any business names and
Employer Identification
Numbers (EIN) you have
used in the last 8 years

Include trade names and
doing business as names

About Debtor 1:

| have not used any business name or EINs.

Gase }/-60400-EJC Doc#:1 Filed:09/15/17 Entered:09/13/1 , d8ieeis2 Page:2 of 52

OWT,

 

About Debtor 2 (Spouse Only in a Joint Case):

01 | have not used any business name or EINs.

 

 

Business name(s)

Business name(s)

 

 

EINs

EINs

 

5. Where you live

8391 Kennedy Bridge Road
Register, GA 30452

If Debtor 2 lives at a different address:

 

 

Number, Street, City, State & ZIP Code

Bulloch

Number, Street, City, State & ZIP Code

 

 

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

County

If Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

 

Number, P.O. Box, Street, City, State & ZIP Code

Number, P.O. Box, Street, City, State & ZIP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

M Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

O_st{have another reason.
Explain. (See 28 U.S.C. § 1408.)

Check one:

11 Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

OO __sthave another reason.
Explain, (See 28 U.S.C. § 1408.)

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2
Debtor1 LEGSe Hi -60400-EJC Doc#:1 Filed:09/15/17 Entered:09/4301 , AgRise Page:3 of 52

own,

 

 

Tell the Court About Your Bankruptcy Case

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under
O Chapter 7

O Chapter 11
O Chapter 12
B Chapter 13

 

8 Howyouwill pay thefee O I will pay the entire fee when | file my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in Installments (Official Form 103A).

O__sI request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

9. Have you filed for OO No.
bankruptcy within the
last 8 years? a Yes.
Southern District of
District Georgia When 1/09/15 Case number 15-60011
Southern District of
District Georgia When 1/08/13 Case number 13-60009
District When Case number
10. Are any bankruptcy B No
cases pending or being
filed by aspouse whois TL Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your | No Go to line 12.
residence? .
OO Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

oO No. Go to line 12.

oO Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
bankruptcy petition.

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3
Case:17-60400-EJC Doc#:1 Filed:09/15/17 Entered:09/15/17 18:52:32 Page:4 of 52

Debtor1 Linda F Hill ase number (if known)

 

 

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor
of any full-or part-time MH No, Go to Part 4.
business?

O Yes. Name and location of business

A sole proprietorship is a
business you operate as Name of business, if any
an individual, and is not a
separate legal entity such
as a corporation,
partnership, or LLC.

 

 

if you have more than one Number, Street, City, State & ZIP Code

sole proprietorship, use a
separate sheet and attach ;
it to this petition. Check the appropriate box to describe your business:

 

oO Health Care Business (as defined in 11 U.S.C. § 101(27A))
oO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
oO Stockbroker (as defined in 11 U.S.C. § 101(53A))
oO Commodity Broker (as defined in 11 U.S.C. § 101(6))
oO None of the above
13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
Chapter 11 of the deadlines. |f you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
you a small business in 11 U.S.C. 1116(1)(B).
debtor?
. Bi No | am not filing under Chapter 11.
For a definition of small ,
fee ner " OO No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
a ‘ Code.
O yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the Bankruptcy Code.

 

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Doyouownorhaveany No
property that poses or is ‘
alleged to poseathreat (1 Yes.
of imminent and What is the hazard?

 

identifiable hazard to

public health or safety?

Or do you own any . ; ee
property that needs If immediate attention is
immediate attention? needed, why is it needed?

 

For example, do you own

perishable goods, or

livestock that must be fed, Where is the property?
or a building that needs

urgent repairs?

 

Number, Street, City, State & Zip Code

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
Debtor 1 Linda F Hil

Case: 17-60400-EJC Doc#:1 Filed:09/15/17 Entered:09/1,5/17

Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
so, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 1:
You must check one:

| received a briefing from an approved credit oO
counseling agency within the 180 days before |

filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit oO
counseling agency within the 180 days before |

filed this bankruptcy petition, but | do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that | asked for credit counseling oO
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

| am not required to receive a briefing about Oo
credit counseling because of:

O_sIncapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

O __ Disability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

O Active duty.
| am currently on active military duty in a
military combat zone.”

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

8:52:32 Page:5 of 52

se tei (if known)

 

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but I do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

lam not required to receive a briefing about credit
counseling because of:

O_sIncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

O_ éDisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

O Active duty.
| am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 5
Debtor 1 Linda F Hill

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énu EL (if known)

 

Answer These Questions for Reporting Purposes

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

CI Ne. Go to line 16b.

Hl Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

CJ No. Go to line 16c.

C1 Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under
Chapter 7?

Do you estimate that
after any exempt
property is excluded and

Hi No. | am not filing under Chapter 7. Go to line 18.

OlyYes. |am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
are paid that funds will be available to distribute to unsecured creditors?

 

 

administrative expenses OO No
are paid that funds will
be available for O Yes
distribution to unsecured
creditors?
18. How many Creditorsdo 1.49 0 1,000-5,000 DF) 25,001-50,000
ed that you C1 50-99 CO 5001-10,000 C1 50,001-100,000
C1 100-199 0 10,001-25,000 [1 More than100,000
OO 200-999
19. How much do you CO $0 - $50,000 D1 $1,000,001 - $10 million 0 $500,000,001 - $1 billion

estimate your assets to
be worth?

i $50,001 - $100,000
1 $100,001 - $500,000
1 $500,001 - $1 million

1 $10,000,001 - $50 million
1 $50,000,001 - $100 million
1 $100,000,001 - $500 million

Oo $1,000,000,001 - $10 billion
1 $10,000,000,001 - $50 billion
OO More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

Hl so - $50,000

C1 $50,001 - $100,000
C $100,001 - $500,000
DO $500,001 - $1 million

1 $1,000,001 - $10 million

0 $10,000,001 - $50 million
1 $50,000,001 - $100 million
C1 $100,000,001 - $500 million

C1 $500,000,001 - $1 billion

(1) $1,000,000,001 - $10 billion
O $10,000,000,001 - $50 billion
CO More than $50 billion

 

lea Sign Below

For you

| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

Signature of Debtor 2

ard Z571.~ 7 AHL
\
Signature of Debtor 1

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
bankryptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
thaw
Lindd F Hill
Executed on G ‘sS [7
MM/DD/YYYY

Executed on

 

MM /DD/IYYYY

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 6
C
Debtor1 Linda F Hi

ase. 7-60400-EJC Doc#:1 Filed:09/15/17 Entered:09/15/17 18:92:32 Page:/ of 52

@ NUMDEF (if known)

 

For your attorney, if you are
represented by one

If you are not represented by
an attorney, you do not need
to file this page.

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
for which the person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)

and, ,in a case in a )(Dy applies, certify that | have no knowledge after an inquiry that the information in the

   

schédules filed the petition corre
G-/$-17

MM /DD/YYYY

rney for Debtor

Date

Signature of

Kimberly S. Ward

Printed name

H. Lehman Franklin, P.C.
Firm name
P.O. Box 1064

Statesboro, GA 30459
Number, Street, City, State & ZIP Code

912/764-9616

Email address

hlfpcbankruptcy@hotmail.com

Contact phone

682042

Bar number & State

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 7
$S0bd) AGARC- EIC Doc#:1 Filed:09/15/17 Entered:09/15/17 18:52:32 Page:8 of 52

B2030 as
United States Bankruptcy Court
Southern District of Georgia

In re Linda F Hill Case No.

 

Debtor(s) Chapter 13

 

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

I. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that | am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal services, |haveagreedtoaccept = $ «4,500.00

Prior to the filing of this statement] havereceived $ 0.00

Badan Due cc cseeesnennneennnnesnnesesnepivsninensinnsvnnstnnntnnvennenec $ 4,500.00
2. The source of the compensation paid to me was:

H Debtor O Other (specify):

3. The source of compensation to be paid to me is:

O Debtor HB Other (specify): Related work to be billed at a per hour rate of $275.00 for Attorney, $75.00 for
Paralegal or any other rate agreed to by Debtor or set by the Court

4. H! | have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

OO I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case. including:

tn

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy:

Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof:

[Other provisions as needed]
Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
522(f)(2)(A) for avoidance of liens on household goods.

a6 oP

6. By agreement with the debtor(s). the above-disclosed fee does not include the following service:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
any other adversary proceeding.

 

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or ayrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding. |

7 is-t7 Lilehe A. Me :
Date . Kimberly 8. Way 682042
Signature of Attorney
H. Lehman Franklin, P.C.
P.O. Box 1064
Statesboro, GA 30459
912/764-9616 Fax: 912/764-8789
hifpcbankruptcy@hotmail.com
Name of law firm

 

 

 

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32 Page:9 of 52
Fill in this information to identify your case:
Debtor 1 Linda F Hill

First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: SOUTHERN DISTRICT OF GEORGIA

Case number
(if known) O Check if this is an

amended filing

 

 

 

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)
4a. Copy line 55, Total real estate, from Schedule A/B.........csccsscsssscsscssssssseesssussesssesvesssssueesssnsessssessssseeseninisusnenseenee $ 37,369.50
1b. Copy line 62, Total personal property, from Schedule A/B.......o cece ccc ceenseeseseeseseeseensscasreeseeeeesereeeeneees $ 14,735.66
ic. Copy line 63, Total of all property on Schedule A/B............. ccc ccc ecccseeecesceetseeteeensescuesasesseaessenseestarasertesiseesereetes $ 52,105.16

Summarize Your Liabilities

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ 71,010.66
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F............cccccersin $ 7,116.24
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.........ssceeeeeee $ 23,374.07
Your total liabilities | $ 101,500.97
Summarize Your Income and Expenses
4. Schedule |: Your Income (Official Form 1061

( ) $ 3,107.02

Copy your combined monthly income from line 12 Of Schedule Ino... ccccetescteeensenenenenenseseseseeenenenerscscseseneeeneneanseees

5. Schedule J: Your Expenses (Official Form 106J)

Copy your monthly expenses from line 22c of Schedule J...........ceccsceceeeeeeceeeeceetscaeecseeseeeesnenenessseeaenee $ 2,779.00

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137
O_ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

@ Yes
7. What kind of debt do you have?

Hi Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

Your debts are not primarily consumer debts. You -have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules. .

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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pebtor Pope BO400-EJC Doc#:1 Filed:09/15/17 Entered: 09/45/47 b8:52:32 Page:10 of 52

da F Hill er (if

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form

 

 

 

 

 

 

 

 

122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. 820.52

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim

From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0.00

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 7,116.24

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00

9d. Student loans. (Copy line 6f.) 3 0.00

9e. Obligations arising out of a separation agreement or divorce that you did not report as 0

priority claims. (Copy line 6g.) -00

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +§ 0.00

9g. Total. Add lines 9a through 9f. $ 7,116.24
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Best Case Bankruptcy
aca: Dai. lad) -Q0 ; 2:32 Page:11 of 52

Fill in this information to identify your case and this filing:

Debtor 1 Linda F Hill

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF GEORGIA

 

Case number 0 Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12115

 

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

0 Ne. Go to Part 2. *
IB yes. Where is the property?

 

 

 

 

 

1.4 What is the property? Check all that apply

8391 Kennedy Bridge Road Os Single-family home Do not deduct secured claims or exemptions. Put

Street address, if available, or other description eo. the amount of any secured claims on Schedule D:
[] Oupiex or mutt-unit building Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
(1 Manufactured or mobile home

. Current value of the Current value of the
Register GA 30452-0000 O Land entire property? portion you own?
City State ZIP Code C1 Investment property $74,739.00 $37,369.50
Timeshare
C1 Timesha Describe the nature of your ownership interest
C1 Other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one — life estate), if known.

C1 debtor 1 only 1/2 undivided interest

Bulloch Debtor 2 only

County C1 Debtor 1 and Debtor 2 only

Check if this is community property
Hi At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

2.86 acres and mobile home, (total value $74,739.00)

(debt in co-owner's name only)

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here............:0:c0+

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

$37,369.50

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 1
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Case:17-60400-EJC Doc#:1 Filed:09/15/17 Entered:09/

Debtor 1 Linda F Hill

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

Who has an interest in the property? Check one

Bi pebior 1 only

O Debtor 2 only

O Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

CI Check if this is community property
(see instructions)

o/17 18: 52:32 Page:12 of 52

ase num

er (if known)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$4,135.66 $4,135.66

 

 

 

 

 

 

Who has an interest in the property? Check one

B Debtor 1 only

D1 Debtor 2 only

C1 Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

C1) Check if this is community property
(see instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$100.00 $100.00

 

 

01 No

yes

3.1 Make: Chevrolet
Model, Tahoe
Year: 1995
Approximate mileage:
Other information:

3.2 Make: Oldsmobile
Model: Cutlass
Year: 1993
Approximate mileage:
Other information:

(not running)

3.3. Make: Nissan

Model: Altima
Year: 2007
Approximate mileage:
Other information:

 

 

 

 

Who has an interest in the property? Check one

Bi bebtor 1 only

OU Debtor 2 only

CJ Debtor 1 and Debtor 2 only

0 At least one of the debtors and another

OO Check if this is community property
(see instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

$7,400.00 $7,400.00

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

HB No
OO Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, tee any entries for

pages you have attached for Part 2. Write that number here...

Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings

Examples: Major appliances, furniture, linens, china, kitchenware
11 No

H@ Yes. Describe.....

 

= $11,635.66

 

 

 

Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

| Household Furnishings

$2,000.00

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices

including cell phones, cameras, media players, games

O No

Official Form 106A/B
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Schedule A/B: Property

page 2

Best Case Bankruptcy
pebior PAGAL HQ400-EJC Doci#:1 Filed:09/15/17 Entered:09/AB/17,48°52.82 Page:13 of 52

 

Hl Yes. Describe.....

 

| Emerson 32" color TV, Emerson color TV, $100.00

 

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;

other collections, memorabilia, collectibles
HB No
0 Yes. Describe...

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks, carpentry tools;

musical instruments
HiNo
OO Yes. Describe...

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

BI No
O Yes. Describe.....

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

C1 No
Hl Yes. Describe.....

 

| Clothing $300.00

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

Hi No
1 Yes. Describe...

13. Non-farm animals
Examples: Dogs, cats, birds, horses

Hi No
(J Yes. Describe...

14, Any other personal and household items you did not already list, including any health aids you did not list
BNo

C1 Yes. Give specific information...

 

15. Add the dollar value of all of your entries from Part 3, including any entries for epagps you have attached
for Part 3. Write that number here 2.0.0... css ccseesssesennessseees $2,400.00

 

 

 

 

Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

HB No

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar

institutions. If you have multiple accounts with the same institution, list each.

OC No
MV eS. eects Institution name:
Official Form 106A/B Schedule A/B: Property page 3

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Case:17-60400-EJC Doc#:1 Filed:09/15/17 Entered:09/15/1 7

Debtor? Linda F Hill m

18:52:32 Page:14 of 52

17.1. Wells Fargo - checking $700.00

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

HNo

Ol Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

H No

C1 Yes. Give specific information about them...............0
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Hi No

OO Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

HNo

D0 Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

B No
OV Yes. ooo. cceccceeeee Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

BI No
O Yes Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Hi No
DO Yes... Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
BNo
OO Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

HB No
C1 Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
HI No
1 Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

Official Form 106A/B Schedule A/B: Property page 4
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28. Tax refunds owed to you
Hi No
O Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

B No
O Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

Bi No
0 Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

B No

0 Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because

someone has died.
Bi No
OC Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Hi No
O Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
Bi No
0 Yes. Describe each claim.........

35. Any financial assets you did not already list
BNo
OO Yes. Give specific information.

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here... nanasenequanenoanuaananagasnnasqunsennananananenenan tgensersnennesaqgsenennanessisbabuijavaaseneuataueaees $700.00

 

 

 

 

[etc] Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
Hl No. Go to Part 6.
0 Yes. Go to line 38.

fea] Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
i No. Go to Part 7.
C1 Yes. Go to line 47.

 

Describe All Property You Own or Have an Interest in That You Did Not List Above
Official Form 106A/B Schedule A/B: Property page 5

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pebtor PASG:47 69400-EJC Doc#:1 Filed:09/15/17 Entered:O9/L5/17,48;52;32, Page:16 of 52

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

BNo
CO Yes. Give specific information.........

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here 20.0... eee $0.00

 

List the Totals of Each Part of this Form

 

 

 

 

 

55. Part 1: Total real estate, lime 2 oo... esesseesseeeseeseneneesees sdlctesieiaveuasvnadesadieivateptoeuse aanesi $37,369.50
56. Part 2: Total vehicles, line 5 $11,635.66

57. Part 3: Total personal and household items, line 15 $2,400.00

58. Part 4: Total financial assets, line 36 $700.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $14,735.66 | Copy personal property total $14,735.66
63. Total of all property on Schedule A/B. Add line 55 + line 62 $52,105.16
Official Form 106A/B Schedule A/B: Property page 6

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Debtor 1 Linda F Hill

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © SOUTHERN DISTRICT OF GEORGIA

 

Case number
(if known) 1 Check if this is an

amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 416

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known). :

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
Bi You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
C1 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption.

Schedule A/B
8391 Kennedy Bridge Road Register, $37,369.50 li $7,369.50 O-C.G.A.§ 44-1 3-100(a)(1)
GA 30452 Bulloch County ak aa .
2.86 acres and mobile home, (total LF 400% of fair market value, up to
value $74,739.00) any applicable statutory limit

(debt in co-owner's name only)
Line from Schedule A/B: 1.1

 

 

 

1993 Oldsmobile Cutlass $100.00 $100.00 0.C.G.A. § 44-13-100(a)(3)
(not running) Se a
Line from Schedule A/B: 3.2 C1 400% of fair market value, up to
any applicable statutory limit
2007 Nissan Altima $7,400.00 $1,400.00 O-C.G.A. § 44-13-100(a)(3)
Line from Schedule A/B: 3.3 SS aa
1 400% of fair market value, up to
any applicable statutory limit
Household Furnishings $2,000.00 $2,000.00 0.C.G.A. § 44-13-100(a)(4)

Line from Schedule A/B: 6.1
O 400% of fair market value, up to
any applicable statutory limit

 

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2

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Case;17-60400-EJC Doc#:1 Filed:09/15/17 Entered:09/15/17 8:5

ase number (if known)

Debtor 1 Vida F Hill

2:32 Page:18 of 52

 

 

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Emerson 32" color TV, Emerson $100.00 $100.00 0.C.G.A. § 44-13-100(a)(4)
color TV, TTT ia
Line from Schedule A/B: 7.1 CO 400% of fair market value, up to
any applicable statutory limit
Clothing $300.00 Bo $300.00 0.C.G.A. § 44-13-100(a)(4)
Line from Schedule A/B: 11.1 ——
O 400% of fair market value, up to
any applicable statutory limit
Wells Fargo - checking $700.00 $700.00 0-C.G.A. § 44-13-100(a)(6)
Line from Schedule A/B: 17.1 ee
1 400% of fair market value, up to

any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

BH No
O Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
O No
Ol Yes
Official Form 106C Schedule C: The Property You Claim as Exempt

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page 2 of 2

Best Case Bankruptcy
Fill in this information to identify your case:

Debtor 1 Linda F Hill

First Name

Debtor 2

Middle Name Last Name

 

(Spouse if, filing) First Name

United States Bankruptcy Court for the:

Case number

Middle Name Last Name

SOUTHERN DISTRICT OF GEORGIA

 

 

(if known)

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

32 Page:19 of 52

OO Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case

number (if known).

1. Do any creditors have claims secured by your property?
CJ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

BI Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. : . a . C Hf B Col Cc
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately pet ssioaa ona
for each claim, If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
mutch as possible, list the claims in alphabetical order according to the creditor's name. Do not deduct the that supports this portion
value of collateral, claim If any
2.1 | 1st Franklin Financial Describe the property that secures the claim: $4,135.66 $4,135.66 $0.00
Creditor's Name 1995 Chevrolet Tahoe
As of the date you file, the claim is: Check all that
P. O. Box 1063 sas ¥ —
Statesboro, GA 30458 C1 contingent
Number, Street, City, State & Zip Code CO unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
BE pebtor 1 only [An agreement you made (such as mortgage or secured
car loan
C Debtor 2 only )
OD Debtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
CZ atleast one of the debtors and another ~= Judgment lien from a lawsuit
C1 Check if this claim relates to a BF other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
2.2 | 1st Franklin Financial Describe the property that secures the claim: $675.00 Unknown Unknown
Creditor's Name personal property
As of the date you file, the claim is: |
P.O. Box 1063 cee date y Check all that
Statesboro, GA 30458 O Contingent
Number, Street, City, State & Zip Code D1 unliquidated
O Disputed
Who owes-the debt? Check one. Nature of lien. Check all that apply.
BB pebtor 1 only C1 An agreement you made (such as mortgage or secured
car loan
OO Debtor 2 only )
O Debtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
C1 Atleast one of the debtors and another ~=0 Judgment lien from a lawsuit
CO Check if this claim relates to a BB other (including a right to offset)
community debt
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 3

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Best Case Bankruptcy
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Debtor 1 Linda F Hill

First Name

Opened
10/01/12
Last Active

Date debt was incurred 11/01/12

Middle Name

Case number (if know)

Last Name

Last 4 digits of accountnumber 5900

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2.3 |Capital One Auto Finance _ Describe the property that secures the claim: $6,000.00 $7,400.00 $0.00
Creditor's Name 2007 Nissan Altima
As of laim is:
P O Box 9013 ene the date you file, the claim is: Check all that
Addison, TX 75001 C1 Contingent
Number, Street, City, State & Zip Code CZ unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
0 Debtor 1 only Olan agreement you made (such as mortgage or secured
CZ Debtor 2 only car loan)
C1 Debtor 4 and Debtor 2 only Oo Statutory lien (such as tax lien, mechanic's lien)
At teast one of the debtors and another C1 Judgment lien from a lawsuit
C1 Check if this claim relates to a H@ other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
2.4 | Ditech Financial Describe the property that secures the claim: $60,000.00 $74,739.00 $0.00
Croditors Name 8391 Kennedy Bridge Road
Register, GA 30452 Bulloch County
2.86 acres and mobile home, (total
value $74,739.00) Debt is in
co-owner name only
P O Box 6172 (debt in co-owner's name only)
id Ci SD As of the date you file, the claim is: Check all that
Rapid ity, apply.
57709-6172 O Contingent
Number, Street, City, State & Zip Code OD unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
BB pebtor 1 only C] An agreement you made (such as mortgage or secured
D1 Debtor 2 only caren
OD) Debtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
C1 At least one of the debtors and another [1 Judgment lien from a lawsuit
OO check if this claim relates to a OD other (including a right to offset)
community debt :
Date debt was incurred Last 4 digits of account number
25 United Appliance &
~ | Furniture Describe the property that secures the claim: $200.00 $500.00 $0.00

 

 

 

Creditors Name

103 South Walnut Street
Statesboro, GA 30458

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

Bi pebtor 1 only
O debtor 2 only
O Debtor 1 and Debtor 2 only

Official Form 106D

 

refrigerator

 

 

As of the date you file, the claim is: Check all that
apply.

oO Contingent

0 unliquidated

O Disputed

Nature of lien. Check all that apply.

Olan agreement you made (such as mortgage or secured
car loan)

OQ Statutory lien (such as tax lien, mechanic's lien)

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

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page 2 of 3

Best Case Bankruptcy
Case:17-60400-EJC Doc#:1 Filed:09/15/17 Entered:09/15/17 18:52:32
Debtor 1 Linda F Hill Case number (if know)

Page:21 of 52

 

First Name Middle Name Last Name

D atleast one of the debtors and another =O Judgment lien from a lawsuit
( Check if this claim relates to a BB other {including a right to offset)

 

community debt

 

 

 

 

 

 

Date debt was incurred Last 4 digits of account number
Add the dollar value of your entries in Column A on this page. Write that number here: $71,010.66
If this is the last page of your form, add the dollar value totals from all pages. $71,010.66
Write that number here: : ‘

List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 4, list the additional creditors here. If you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

U Name, Number, Street, City, State & Zip Code On which line in Part 1 did you enter the creditor? 2.4

Shapiro, Pendergast & Hasty LLP
211 Perimeter Center Parkway NE, Ste 300 Last 4 digits of account number __
Atlanta, GA 30346

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

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page 3 of 3

Best Case Bankruptcy
32 Page:22 of 52

Fill in this information to identify your case:

Debtor 1 Linda F Hill

First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

'| United States Bankruptcy Court forthe: © SOUTHERN DISTRICT OF GEORGIA

Case number
(if known) O Check if this is an

amended filing

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

ladies List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
01 No. Go to Part 2.
Bi ves.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the Continuation Page of
Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
Bulloch County Tax
24 Commissioner Last 4 digits of account number $1,438.40 $1,438.40 - $0.00

Priority Creditors Name
P.O. Box 245 When was the debt incurred?
Statesboro, GA 30459
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one. O Contingent

BB Debtor 1 only CD unliquidated

OO Debtor 2 only CO Disputed

CJ Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:

(J At least one of the debtors and another LC) Domestic support obligations

O Check if this claim is fora community debt I Taxes and certain other debts you owe the government

 

 

Is the claim subject to offset? OO claims for death or personal injury while you were intoxicated
Hino CO other. Specify
C1 Yes taxes
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 7

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ase:17-60400-EJC Doc#:1 Filed:09/15/17 Entered
Linda F Hill

:09/ 15/

0 tt

18: 52:32 Page:23 of 52

f know,

Cas
Debtor 1

 

Internal Revenue Service Last 4 digits of account number $5,677.84 $4,900.00 $777.84

 

Priority Creditor's Name
P.O. Box 7346

Philadelphia, PA 19101-7346
Number Street City State Zip Code

Who incurred the debt? Check one.

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
O contingent

Bi Debtor 4 only 0 unliquidated

DO Debtor 2 only O pisputed

CO Debtor 4 and Debtor 2 only Type of PRIORITY unsecured claim:

CD at least one of the debtors and another C1) Domestic support obligations

OD) Check if this claim is fora community debt IB Taxes and certain other debts you owe the government

Is the claim subject to offset?

a No
C1 yes

C1 claims for death or personal injury while you were intoxicated

C1 other. Specity
notice only

 

 

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

0 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

 

 

 

 

 

B yes.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.if you have more than three nonpriority unsecured claims fill out the Continuation Page of
Part 2.

Total claim
41 Allianceone Receivable Last 4 digits of accountnumber 7237 $166.00
Nonpriority Creditor's Name
4850 E Street Rd Ste 300 When was the debt incurred? Opened 1/11/12
Trevose, PA 19053
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BF pebtor 1 only 0 Contingent
O Debtor 2 only 0) unliquidated
O Debtor 1 and Debtor 2 only 0 Disputed
U1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is fora community CI student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno O. Debts to pension or profit-sharing plans, and other similar debts
0 yes WH other. Specify Rotech Healthcare Inc.
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 7

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Linda F Hill number (if know
4.2 Allianceone Receivable Last 4 digits of accountnumber 8427 $54.00
Nonpriority Creditor's Name
4850 E Street Rd Ste 300 When was the debt incurred? Opened 2/08/12
Trevose, PA 19053
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B pebtor 1 only CO Contingent
CO Debtor 2 oniy 0 unliquidated
OD) Debtor 4 and Debtor 2 only 0 Disputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a. community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno OX Debts to pension or profit-sharing plans, and other similar debts
0 yes Hl other. Specify Rotech Healthcare Inc.
4.3 Allianceone Receivable Last 4 digits of accountnumber 7238 $54.00
Nonpriority Creditor's Name
4850 E Street Rd Ste 300 When was the debt incurred? Opened 1/11/12
Trevose, PA 19053
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Bi pebtor 1 only Oo Contingent
OD Debtor 2 only D untiquidatea
DO Debtor 1 and Debtor 2 only O Disputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this claim is fora community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
|| No Oo Debts to pension or profit-sharing plans, and other similar debts
O Yes Hi other. Specify Rotech Healthcare Inc.
4.4 Allianceone Receivable Last 4 digits of accountnumber 7236 $24.00
Nonpriority Creditor's Name
Opened 1/11/12 Last Active
4850 E Street Rd Ste 300 When was the debt incurred? 3/31/12
Trevose, PA 19053
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BF pebtor 1 only OO contingent
OC Debtor 2 only CO unliquidated
C1 Debtor 1 and Debtor 2 only O Disputed
0 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is fora community CI student loans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bl no C1) Debts to pension or profit-sharing plans, and other similar debts
D Yes H other. Specify Rotech Healthcare Inc.
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims - Page 3 of 7

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se if know

4.5 Allied Interstate Last 4 digits of account number $726.58
Nonpriority Creditor's Name
Healthcare Division When was the debt incurred?
P.O. Box 361533
Columbus, OH 43236-1533
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BF pebtor 1 only CO Contingent
D Debtor 2 only Oo Unliquidated
OQ Debtor 1 and Debtor 2 only O Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
OO Check if this claim is fora community C1 student loans
debt CO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino O Debts to pension or profit-sharing plans, and other similar debts
O Yes B other. Specify East Georgia Regional Med Center

4.6 Credit Bureau Associates Last 4 digits of accountnumber 8453 $70.00
Nonpriority Creditor’s Name
145 Executive Park When was the debt incurred? Opened 11/17/08
Milledgeville, GA 31061
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B pebtor 1 only U1 contingent
OQ Debtor 2 only Oo Unliquidated
CZ Debtor 1 and Debtor 2 only Oo Disputed
CI at least one of the debtors and another Type of NONPRIORITY unsecured claim:
C] Check if this claim is fora community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hi no DO Debts to pension or profit-sharing plans, and other similar debts
0 yes HH other. Specify Allgood Services Inc

Credit Collection Last 4 digits of account number 5334 $79.00
Nonpriority Creditor's Name
Opened 8/01/08 Last Active
P O Box 9136 When was the debt incurred? 10/01/08
Needham, MA 02494
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one
Bi pebtor 1 only O Contingent
OO Debtor 2 only oO Unliquidated
O Debtor 1 and Debtor 2 only oO Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is fora community C1 Student loans
debt OO obtigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
iN CZ Debis to pension or profit-sharing plans, and other similar debts
0 Yes Hl other. Specify
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 7

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\OW

 

 

East Georgia Regional Medical

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.8 Center Last 4 digits of account number $300.00
Nonpriority Creditor's Name
1499 Fair Road When was the debt incurred?
Statesboro, GA 30458
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B pebtor 1 only 0 contingent
O Debtor 2 only Oo Unliquidated
OQ Debtor 1 and Debtor 2 only O Disputed
CO Atieast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 student loans
debt OQ Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno O debts to pension or profit-sharing plans, and other similar debts
oO Yes Hi Other. Specify medical
4.9 Lanier Collection Last 4 digits of account number $697.49
Nonpriority Creditor's Name
P.O. Box 15519 When was the debt incurred?
Savannah, GA 31416-2219
Number Street City State Zlp Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Bi debtor 1 only O contingent
OQ Debtor 2 only 0 unliquidated
CF Debtor 1 and Debtor 2 only CO Disputed
CZ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C) Check if this claim is fora community C1) student loans
debt . C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
B no 0 Debts to pension or profit-sharing plans, and other similar debts
DO Yes H other. Specify East Georgia Regional
44 : : .
0 Lanier Collection Last 4 digits of account number 5302 $347.00
Nonpriority Creditor's Name
P.O. Box 15519 When was the debt incurred? Opened 11/24/10
Savannah, GA 31416-2219
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Bi pebtor 1 only Oo Contingent
O Debtor 2 only 0 unliquidated
C Debtor 1 and Debtor 2 only 0 pisputea
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi no CO Debts to pension or profit-sharing plans, and other similar debts
0 Yes H other. Specify Statesboro Gastroenterology Pc
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 7

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4.1 5 é
1 Mitchell D Blum & Associates, LLC Last 4 digits of account number 5018 $856.00
Nonpriority Creditor's Name
2222 Texoma Pkwy, Ste 160 When was the debt incurred? Opened 1/29/11
Sherman, TX 75090
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Bi pebtor 1 only O Contingent
CO Debtor 2 only 0 unliquidatea
C1 Debtor 1 and Debtor 2 only CO Disputed
CZ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 check if this claim is fora community C1 Student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi no DO Debts to pension or profit-sharing plans, and other similar debts
O Yes Hi other. Specify East Georgia Regional Medical
44 .
2 PRA, LLC Last 4 digits of account number $20,000.00

 

 

 

Nonpriority Creditor's Name
PO Box 41067

Norfolk, VA 23541
Number Street City State Zip Cade

Who incurred the debt? Check one.

BF pebtor 4 only

D1 Debtor 2 only

CZ Debtor 1 and Debtor 2 only

0 Atleast one of the debtors and another

0) Check if this claim is fora community
debt
Is the claim subject to offset?

a No
0 Yes

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

Oo Contingent
0 unliquidated

0 Disputed
Type of NONPRIORITY unsecured claim:

C1 Student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

BH other. Specify deficiency on 2012 Chrysler 200

 

 

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name ani

id Address

Allgood Services

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.6 of (Check one): O part 1: Creditors with Priority Unsecured Claims

 

P.O. Box 891 BB part 2: Creditors with Nonpriority Unsecured Claims
Dublin, GA 31040
Last 4 digits of account number
Name and Address On which entry in Part 1 or Part 2 did you list the original creditor?
East Georgia Regional Medical Line 4.9 of (Check one): DC) part 1: Creditors with Priority Unsecured Claims

Center

1499 Fair Road
Statesboro, GA 30458

Bi part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address
Quantum3 Group LLC

for CF

Medical LLC

P O Box 788
Kirkland, WA 98083

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.11 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

BB part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name an

d Address

Statesboro Gastroenterology, P.C.

Official Fo!

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rm 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.10 of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims

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Debtor C inda

P.O. Box 2322

Statesboro, GA 30459

Last 4 digits of account number

 

Bl part 2: Creditors with Nonpriority Unsecured Claims

 

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

Total
claims
from Part 4

Total
claims
from Part 2

Official Form 106 E/F

6a.

6b.
6c.
6d.

6e.

6f,

6g.

6h.

6i.

gj.

Domestic support obligations

Taxes and certain other debts you owe the government
Claims for death or personal injury while you were intoxicated

Other. Add all other priority unsecured claims. Write that amount here.

Total Priority. Add lines 6a through 6d.

Student loans

Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Add all other nonpriority unsecured claims. Write that amount
here.

Total Nonpriority. Add lines 6f through 6i.

Schedule E/F: Creditors Who Have Unsecured Claims

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6a.

6b.
6c.
6d.

6e.

6f.

69.
6h.

6i.

gj.

Total Claim
0.00

7,116.24
0.00
0.00

 

 

7,116.24

 

 

Total Claim

0.00

0.00
0.00
23,374.07

 

 

23,374.07

 

 

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Best Case Bankruptcy
-60400- Do cit if=Yab 22°32 Page:29 of 52

Fill in this information to identify your case:

Debtor 1 Linda F Hill

First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: SOUTHERN DISTRICT OF GEORGIA

 

Case number
(if known) OO Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/45

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
Hl No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
O Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/8).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code

2.1
Name

 

 

Number Street

 

City State ZIP Code
2.2
Name

 

 

Number Street

 

 

 

 

 

 

 

 

 

 

 

 

 

 

City State ZIP Code
2.3

Name

Number Street

City State ZIP Code
2.4

Name

Number Street

City State ZIP Code
2.5

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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:32 Page:30 of 52
Fill in this information to identify your case:
Debtor 1 Linda F Hill

First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: © SOUTHERN DISTRICT OF GEORGIA

 

Case number
(if known) 1 Check if this is an

amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

OO No
Bl yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

BI No. Go to line 3.
C1 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Name, Number, Street, City, State and ZIP Code Check all schedules that apply:
3.1 ere Bi SeideaRioed H Schedule D, line 2.3
ennedy bridge hoa O Schedule E/F, line
Register, GA 30452 C Schedule G

Capital One Auto Finance

 

Official Form 106H Schedule H: Your Codebtors Page 1 of 1
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Case:17-60400-EJC Doc#:1 Filed:09/15/17 Entered:09/15/17 18:52:32 Page:31 of 52

Fill in this information to identi
Debtor 1 Linda F Hill

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court forthe: SOUTHERN DISTRICT OF GEORGIA

Case number Check if this is:

(known) An amended filing

O A supplement showing postpetition chapter
13 income as of the following date:

Official Form 106] MM/DDIYYYY
Schedule |: Your Income 12115

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fillin your employment

 

 

 

 

 

 

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job, Empl — i Employed CL Employed
attach a separate page with mployment status
information about additional CI Not employed CI Not employed
employers. . .
Occupation bus driver
Include part-time, seasonal, or | .
self-employed work. Employer's name First Transit Inc.

 

Occupation may include student Employer's address
or homemaker, if it applies.

 

How long employed there?

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, calculate what the monthly wage would be. 2 $ 1,993.33 $ NIA
3. Estimate and list monthly overtime pay. 3. +5 0.00 «6+ N/A
4. Calculate gross Income. Add line 2 + line 3. 4. |§ 1,993.33 $ NIA

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page |
Case:17-60400-EJC Doc#:1 Filed:09/15/17

Debtor 1

10.

11.

12.

13.

Official Form 1061

5a.
5b.
5c.
5d.
5e.
5f.

5g.
5h.

8a.

8b.
8c.

8d.
8e.
8f.

8g.
8h.

Copy Fe Ne nnn
List all payroll deductions:
Tax, Medicare, and Social Security deductions
Mandatory contributions for retirement plans
Voluntary contributions for retirement plans
Required repayments of retirement fund loans
Insurance
Domestic support obligations
Union dues
Other deductions. Specify: R
Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.
Calculate total monthly take-home pay. Subtract line 6 from line 4.
List all other income regularly received:
Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income.
Interest and dividends
Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.
Unemployment compensation
Social Security
Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify:
Pension or retirement income
Other monthly income. Specify: Daughter food stamps
2016 pro rated tax refund
Daughter contribution
Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.
10.

Linda F Hill

 

 

 

 

 

Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and

other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it

Case number (if known)

Entered:09/15/17 18:52:32 Page:32 of 52

 

For Debtor 1

For Debtor 2 or
non-filing spouse

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

applies

Do you expect an increase or decrease within the year after you file this form?

Oo
a

No.

4, $ 1,993.33 $ N/A
5a. §$ 427.31 $ NIA
5b. §$ 0.00 $ NIA
5c. § 0.00 $ NIA
5d. §$ 0.00 $ N/A
Se. § 0.00 § N/A
Sf. § 0.00 $ N/A
5g. §$ 0.00 § NIA
5h.+ $ 0.00 + 3 NIA
6. $ 427.31 $ N/A
7. $ 1,566.02 $ NIA
8a. § 0.00 $ NIA
8b. §$ 0.00 $§ NIA
8c. §$ 0.00 $ NIA
8d. $ 0.00 &$ NIA
8e. $ 0.00 $ N/A
af. §$ 0.00 $ N/A
8g. § 0.00 $ N/A
8h.+ $ 925.00 + $ N/A
$ 416.00 $ N/A
$ 200.00 §$ NIA
9. |$ 1,541.00 $ NIA

3 3,107.02 | +/5 NIA|=|$ 3,107.02

11. +5 0.00

$ 3,107.02

Combined

 

 

 

monthly income

 

Yes. Explain:

 

Schedule I: Your Income

page 2

 

 
Case:17-60400-EJC Doc#:1 Filed:09/15/17 Entered:09/15/17 18:52:32 Page:33 of 52

Fillin this information to identify your case:

Debtor 1 Linda F Hill Check if this is:
i An amended filing

 

Debtor 2 1 Asupplement showing posipetition chapter
(Spouse, if filing) 13 expenses as of the following date:

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF GEORGIA MM /DD/IYYYY

 

Case number
(If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 

Describe Your Household
1. Is this a joint case?

Bi No. Go to line 2.
D Yes. Does Debtor 2 live in a separate household?

O No
CO Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Doyou have dependents? (] No

 

 

 

 

 

Do not list Debtor 1 and Hl ves Fill out this information for Dependent’s relationship to Dependent’s Does dependent
Debtor 2. * each dependent.............. Debtor 1 or Debtor 2 age live with you?
Do not state the ONo
dependents names. Granddaughter 1 Hl Yes
OO No
Granddaughter 1 Hl ves
O No
Granddaughter 2 B Yes
ONo
Grandson 3 Bl ves
O1No
Granddaughter 8 Hyves
; O1No
Daughter 31 yes

 

3. Do your expenses include HNo
expenses of people other than gO
yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule /: Your Income

 

 

 

 

(Official Form 1061.) Your expenses
aS EE Ta EE
4. The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. 4. § 687.00
If not included in line 4:
4a. Real estate taxes 4a. § 0.00
4b. Property, homeowner's, or renter's insurance 4b. $ 90.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 100.00

 

Official Form 106J Schedule J: Your Expenses page 1
Case:17-60400-EJC Doc#:1 Filed:09/15/17 Entered:09/15/17 18:52:32 Page:34 of 52

 

 

Debtor1 Linda F Hill Case number (if known)
4d. Homeowner's association or condominium dues Ad. §$ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

 

Official Form 106J Schedule J: Your Expenses page 2
Case:17-60400-EJC Doc#:1 Filed:09/15/17

Debtor1 Linda F Hill

Entered:09/15/17 18:52:32 Page:35 of 52

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6. Utilities:

6a. Electricity, heat, natural gas 6a. $ 200.00

6b. Water, sewer, garbage collection 6b. $ 62.00

6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 50.00

6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. $ 1,000.00
8. Childcare and children’s education costs 8. $ 0.00
9. Clothing, laundry, and dry cleaning 9. $ 115.00
10. Personal care products and services 10. $ 70.00
11. Medical and dental expenses 11. $ 150.00

i jon. , mai , r train fare.

6 et la ett bom 28 125.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 80.00
14. Charitable contributions and religious donations 14. $ 0.00
15. Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a. $ 0.00

15b. Health insurance 15b. $ 0.00

15c. Vehicle insurance 15c. $ 0.00

15d. Other insurance. Specify: 16d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: property tax 16. $ 50.00
17. Installment or lease payments:

17a. Car payments for Vehicle 1 17a. $ 0.00

17b. Car payments for Vehicle 2 17b. § 0.00

17c. Other. Specify: 17c. $ 0.00

17d. Other. Specify: 17d. $ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as

deducted from your pay on line 5, Schedule I, Your Income (Official Form 106)). 18. $ 0.00
19. Other payments you make to support others who do not live with you. $ 0.00

Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule /: Your Income.

20a. Mortgages on other property 20a. $ 0.00

20b. Real estate taxes 20b. $ 0.00

20c. Property, homeowner's, or renter's insurance 20c. §$ 0.00

20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00

20e. Homeowner's association or condominium dues 20e. $ 0.00
21. Other: Specify: 21. +% 0.00
22. Calculate your monthly expenses

22a. Add lines 4 through 21. $ 2,779.00

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $

22c. Add line 22a and 22b. The result is your monthly expenses. $ 2,779.00
23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $ 3,107.02

23b. Copy your monthly expenses from line 22c above. 23b. -$ 2,779.00

23c. Subtract your monthly expenses from your monthly income.

The result is your monthly net income. 23c. | $ 328.02

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

Bi No.

 

O yes. | Explain here:

Official Form 106J Schedule J: Your Expenses

page 3
Case:17-60400-EJC Doc#:1 Filed:09/15/17 Entered:09/15/17 18:52:32 Page:36 of 52

Fill in this information to identify your case:

 

 

 

Debtor 1 Linda F Hill

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: © SOUTHERN DISTRICT OF GEORGIA

Case number
(if known) 1 Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 42115

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

mw No
OO Yes. Name of person Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119)

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and

that they are true and comet. ) A Ae
x a A ola / x
\

‘Linda F Hill
Signature of Debtor 1

ove F/IS/ 17 Date

 

Signature of Debtor 2

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules

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Case:17-60400-EJC Doc#:1 Filed:09/15/17 Entered:09/15/17 18:52:32 Page:37 of 52

Fill in this information to identify your case:
Debtor 1 Linda F Hill
First Name Middle Name Last Name

Debtor 2

(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: SOUTHERN DISTRICT OF GEORGIA

 

Case number.
(if known) O Check if this is an

amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 46

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

1. Whatis your current marital status?

Ol Married
Hi Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

H No

Ol Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

HB No
1] Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

O No
yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
From January 1 of current year until gy Wages, commissions, $6,145.59 (1 Wages, commissions,

the date you filed for bankruptcy: bonuses, tips

bonuses, tips

CO Operating a business O Operating a business

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

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Case: 1 7-60400-EJC Doc#:1 Filed:09/15/17 Entered:Q9/15/17 18:52:32 Page:38 of 52

Debtor1 Linda F Hill ase number (if knawn)

 

 

 

Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
For last calendar year: Bl Wa inci $22,635.00 [ Wages, commissions
ges, commissions, ’ ges, i
(January 1 to December 31, 2016 ) bonuses, tips bonuses, tips
CZ Operating a business O Operating a business
For the calendar year before that: Hl Wages, commissions, $20,200.00 CO Wages, commissions,
(January 1 to December 31, 2015 ) bonuses, tips bonuses, tips
OC Operating a business C1 Operating a business

 

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

H No
0 sYes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross income from Sources of income Gross income
Describe below. each source Describe below. (before deductions
(before deductions and and exclusions)
exclusions)

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
O No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
01 No. Go to line 7.
0 Yes List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do

not include payments to an attorney for this bankruptcy case.
* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

MH Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

HeNo. Gotoline7.

CO Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for ...
paid still owe
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

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Debtor1 Linda F Hill Case number (if known)

 

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.

H No

Yes. List all payments to an insider.

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
Include payments on debts guaranteed or cosigned by an insider.

H No

Yes. List all payments to an insider

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid stillowe — Include creditor's name

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

BH No
Ol Yes. Fill in the details.
Case title Nature of the case Court or agency Status of the case

Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

MH No. Go to line 11.
0 Yes. Fill in the information below.
Creditor Name and Address Describe the Property Date Value of the

property
Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

H No
CO] Yes. Fill in the details.
Creditor Name and Address Describe the action the creditor took Date action was Amount

taken

412. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

BH No
O Yes

List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
H No
O Yes, Fillin the details for each gift.
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

Person to Whom You Gave the Gift and
Address:

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

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pebtor POSS: 17-60400-EJC Doc#:1 Filed:09/15/17 Entered: og/15/17 18:52:32 Page:40 of 52

Linda F Hill Case number (if known)

 

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
H No

O Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600 contributed
Charity's Name

Address (Number, Street, City, State and ZIP Code)

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,

or gambling?

O No

Hl Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred Include the amount that insurance has paid. List pending '°SS lost
insurance ciaims on line 33 of Schedule A/B: Property.

2012 Chrysler 200 totalled in Insurance paid $9,476.83 1/29/2017 $9,476.83

MVA

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
Ol No

Yes. Fill in the details.
Person Who Was Paid

 

Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address made
Person Who Made the Payment, if Not You
GreenPath, Inc. credit counseling 9/6/17 $35.00
Chapter 13 Trustee Ch 13 payments September, $619.00
2016

 

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

BH No

O Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment

made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

HM No
Ol Yes. Fill in the details.

Person Who Received Transfer

Description and value of Describe any property or Date transfer was
Address

property transferred payments received or debts made

paid in exchange
Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 4
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Best Case Bankruptcy
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Debtor1 Linda F Hill Case number (if known)

 

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

H No
O Yes. Fill in the details.
Name of trust Description and value of the property transferred Date Transfer was

made
List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

HI No

O Yes. Fill in the details.

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance
Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or
Code) moved, or transfer

transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

H No

O Yes. Fill in the details.

Name of Financial Institution Who else had access to it? Describe the contents Do you siill
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, have it?

State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

BH No

C1 Yes. Fill in the details.

Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) to it? have it?

Address (Number, Street, City,
State and ZIP Code)

Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust

for someone.
H No
O Yes. Fill in the details.
Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City, State and ZIP Code) (Number, Street, City, State and ZIP

Code)
[GERELEE Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Hi Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hl Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

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Debtor1 Linda F Hill number (if known)

 

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

H No
O Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Cade)

25. Have you notified any governmental unit of any release of hazardous material?

H No

O Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

BH No

O Yes. Fill in the details.

Case Title Court or agency Nature of the case Status of the
Case Number Name case

Address (Number, Street, City,
State and ZIP Code)

Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
C1 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
CA member of a limited liability company (LLC) or limited liability partnership (LLP)
OA partner in a partnership
CO An officer, director, or managing executive of a corporation
CO An owner of at least 5% of the voting or equity securities of a corporation

Hl No. None of the above applies. Go to Part 12.

Ol Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer Identification number
Address Do not include Social Security number or ITIN.
(Number, Street, City, State and ZIP Code) Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

Hi No
O Yes. Fill in the details below.

Name Date Issued

Address
(Number, Street, City, State and ZIP Code)

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

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Debtor1 Linda F Hill Case number (if known)

 

muses Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers

are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

!s/ Linda F Hill

 

 

Linda F Hill Signature of Debtor 2
Signature of Debtor 1
Date September 15, 2017 Date

 

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
Bno

0 Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
HI No
C1 Yes. Name of Person . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

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Fill in this information to identify your case: Check as directed in lines 17 and 21:

According to the calculations required by this

Debtor 1 Linda F Hill Statement:

Debtor 2
(Spouse, if filing)

Hi 4. Disposable income is not determined under
11 U.S.C. § 1325(b)(3).

 

United States Bankruptcy Court for the: Southern District of Georgia

0 2. Disposable income is determined under 11
U.S.C. § 1325(b)(3).

 

Case number
(if known)
Bi

 

 

3. The commitment period is 3 years.

Ol 4. The commitment period is 5 years.

 

 

 

O Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any

additional pages, write your name and case number (if known).

Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
H Not married. Fill out Column A, lines 2-11.
0) Married. Fill out both Columns A and B, lines 2-11.

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

 

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all 5

 

 

 

 

 

 

 

 

payroll deductions). 620.52 §$
3. Alimony and maintenance payments. Do not include payments from a spouse if

Column B is filled in. 0.00 $
4. All amounts from any source which are regularly paid for household expenses

of you or your dependents, including child support. Include regular contributions

from an unmarried partner, members of your household, your dependents, parents,

and roommates. Include regular contributions from a spouse only if Column B is not

filled in. Do not include payments you listed on line 3. 0.00 $
5. Net income from operating a business,

profession, or farm Debtor 1

Gross receipts (before all deductions) 5 0.00

Ordinary and necessary operating expenses -$ 0.00

Net monthly income from a business, profession, or farm $ 0.00 Copy here -> $ 0.00 $
6. Net income from rental and other real property Debtor 1

Gross receipts (before all deductions) $ 0.00

Ordinary and necessary operating expenses -$ 0.00

Net monthly income from rental or other real property §$ 0.00 Copy here -> $ 0.00 $

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 1

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Debtor 1 Linda F Hill Case number (if known)
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
7. Interest, dividends, and royalties $ 0.00 3
8. Unemployment compensation $ 0.00 §$
Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. Instead, list it here:
FOP YOU eeentntnnntntntnentnnteennnenenee 0.00
For your spouse
9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. 0.00 3
10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. If necessary, list other sources on a separate page and put the
total below.
Daughter's contribution $ 200.00 $
$ 0.00 $
Total amounts from separate pages, if any. + §$ 0.00

 

11.

12.
13.

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Calculate your total average monthly income. Add lines 2 through 10 for

each column. Then add the total for Column A to the total for Column B. $ 820.52 |*/$

= $ 820.52

 

 

 

 

 

 

 

 

 

Determine How to Measure Your Deductions from Income

Copy yourtotal average monthly income from line 14.0 tittcteceestnecne

Calculate the marital adjustment. Check one:

Hl You are not married. Fill in 0 below.

O You are married and your spouse is filing with you. Fill in 0 below.
O You are married and your spouse is not filing with you.

Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.

Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional

adjustments on a separate page.
If this adjustment does not apply, enter 0 below.

 

 

 

 

 

 

 

 

Total average
monthly income

$ 820.52

 

 

 

 

 

 

 

 

 

 

$
$
+$
Tt eee upstate $ 0.00 =| Copy here=> “ 0.00
14. Your current monthly income. Subtract line 13 from line 12. $ 820.52
15. Calculate your current monthly income for the year. Follow these steps:
15a. Copyline 14here=> g___O20.52.
Multiply line 15a by 12 (the number of months in a year). x 12
15b. The result is your current monthly income for the year for this part of the fOrM. ..........ccccececseeseteneeseneeeeees $ 9,846.24
Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 2

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Debtor 1 Linda F Hill Case number (if known)

 

 

16. Calculate the median family income that applies to you. Follow these steps:

16a. Fill in the state in which you live. GA
16b. Fill in the number of people in your household. 7
16c. Fill in the median family income for your state and size of household. — _. $ 92,366.00

To find a list of applicable median income amounts, go online using the link specified in the separate _
instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?
17a. lM Line 15bis less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

17b. [J Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
your current monthly income from line 14 above.

ER) calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11 . $ 820.52

 

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
spouse's income, copy the amount from line 13.

19a. If the marital adjustment does not apply, fill in 0 on line 19a. -$ 0.00

19b. Subtract line 19a from line 18. $ 820.52

 

20. Calculate your current monthly income for the year. Follow these steps:

 

 

 

Multiply by 12 (the number of months in a year). x 12
20b. The result is your current monthly income for the year for this part of the form $ 9,846.24
20c. Copy the median family income for your state and size of household from line 160 = $ 92,366.00

 

 

 

21. How do the lines compare?

HI Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
period is 3 years. Go to Part 4.

O Line 20b is more than or equal to line 20c. Uniess otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
commitment period is 5 years. Go to Part 4.

 

Sign Below
By signing here, under penalty of perjury | declare that the information on this statement and in any attachments is true and correct.

ie F Hill (
Sighature of Debtor 1

pae F//SS(7

MM /‘DD /YYYY
If you checked 17a, do NOT fill out or file Form 122C-2.

If you checked 176, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.

 

 

 

Official Form 122C-1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 3
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

 

 

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily for a personal, family, or

household purpose.”

 

Chapter 7: Liquidation

 

 

 

The types of bankruptcy that are available to
individuals

Individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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$245 filing fee
$75 administrative fee
+ $15 trustee surcharge

$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditors. The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge.

You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student loans;

domestic support and property settlement
obligations;

page 1

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most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:
fraud or theft:

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

If your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly Income (Official Form 122A—1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A-2).

If your income is above the median for your state, you
must file a second form —ithe Chapter 7 Means Test
Calculation (Official Form 122A—2). The calculations on
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. Ifa
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

If you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and the proceeds from property that your
bankrupicy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic. To exempt property,
you must list it on Schedule C: The Property You Claim
as Exempt (Official Form 106C). If you do not list the
property, the trustee may sell it and pay-all of the
proceeds to your creditors.

 

Chapter 11: Reorganization

 

$1,167 filing fee

+ $550 administrative fee

$1,717 total fee

Chapter 11 is often used for reorganizing a business,
but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.

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Read These Important Warnings

Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. If you file without an attorney, you are still responsible for knowing and

following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Chapter 12: Repayment plan for family
farmers or fishermen

 

$200 filing fee
+ $75 administrative fee
$275 total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

 

Chapter 13: Repayment plan for
individuals with regular
income

 

$235 filing fee
+ $75 administrative fee
$310 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings. If
the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

page 3

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Warning: File Your Forms on Time

Section 521(a)(1) of the Bankruptcy Code requires that
you promptly file detailed information about your
creditors, assets, liabilities, income, expenses and
general financial condition. The court may dismiss your
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court.

For more information about the documents and
their deadlines, go to:
hitp://Awww.uscourts.gov/bkforms/bankruptcy form

s.html#procedure.

 

 

 

Bankruptcy crimes have serious consequences

If you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury—either orally or in writing—in
connection with a bankruptcy case, you may be
fined, imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case
together—called a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http://justice. gov/ust/eo/hapcpa/ccde/cc_approved.html

In Alabama and North Carolina, go to:
http://www.uscourts.gov/FederalCourts/Bankruptcy/
Bankruptcy Resources/ApprovedCredit

AndDebtCounselors.aspx.

If you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

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BULLOCH COUNTY TAX COMMISSIONER
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CAPITAL ONE AUTO FINANCE
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ADDISON TX 75001

CREDIT BUREAU ASSOCIATES
145 EXECUTIVE PARK
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CREDIT COLLECTION
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